                     UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION




UNITED STATES OF AMERICA                )
                                        )
             V.                         )       INDICTMENT
                                        )
KAI LIAM NIX                            )
 a/k/a "Kai Brazelton"


      The Grand Jury charges:


                                    COUNT ONE

      On or about August 2, 2022, in the Eastern District of North Carolina, the

defendant, KAI LIAM NIX, also known as "Kai Brazelton," did willfully and

knowingly make a materially false statement and representation in a matter within

the jurisdiction of the executive branch of the Government of the United States, by

stating in his Security Clearance Application Standard Form (SF) 86, he had never

been a member of a group dedicated to the use of violence or force to overthrow the

United States Government and which engaged in activities to that end, and the

statements and representations were false , because as the defendant then and there

knew, he had been a member of a group dedicated to the use of violence or force to

overthrow the United States Government and which engaged in activities to that end,

in violation of Title 18, United States Code, Section 1001(a)(2).




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                                    COUNT TWO

      Beginning on or about December 10, 2023, and continuing until on or about

February 5, 2024, within the Eastern District of North Carolina, and elsewhere, the

defendant, KAI LIAM NIX, also known as "Kai Brazelton," willfully engaged in the

business of dealing in firearms without a license, in violation of Title 18, United

States Code, Sections 922(a)(l)(A) and 924.



                                   COUNT THREE

      On or about December 16, 2023, in the Eastern District of North Carolina, the

defendant, KAI LIAM NIX, also known as "Kai Brazelton," knowingly possessed and

sold a stolen firearm, which had been shipped and transported in interstate and

foreign commerce, knowing and having reasonable cause to believe the firearm was

stolen, in violation of Title 18, United States Code, Sections 922(i) and 924(a)(2).




                                    COUNT FOUR

      On or about January 5, 2024, in the Eastern District of North Carolina, the

defendant, KAI LIAM NIX, also known as "Kai Brazelton," knowingly possessed and

sold a stolen firearm , which had been shipped and transported in interstate and

foreign commerce, knowing and having reasonable cause to believe the firearm was

stolen, in violation of Title 18, United States Code, Sections 922(i) and 924(a)(2).




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                                   FORFEITURE NOTICE

       Notice is hereby given that all right, title and interest in the property described

herein is subject to forfeiture.

       Upon conviction of any violation of the Gun Control Act, the National Firearms

Act, or any other offense charged h erein that involved or was perpetrated in whole or

in part by the use of explosive materials, firearms or ammunition, the defendant shall

forfeit to the United States, pursuant to 18 U.S.C. §§ 924(d), 844(c) and/or 26 U.S.C.

§ 5872, as made applicable by 28 U .S.C. § 2461(c), any and all explosive materials,

firearms and ammunition that were involved in or used in a knowing or willful

commission of the offense, or that were intended to be used in any offense identified

in 18 U.S.C. § 924(d)(3), or, pursuant to 18 U.S.C. § 3665, that were found in the

possession or under the immediate control of the defendant at the time of arrest.




                      (remainder of page left intentionally blank)




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      If any of the above-described forfeitable property, as a result of any act or

omission of a defendant: cannot be located upon the exercise of due diligence; has

been transferred or sold to, or deposited with, a third party; has been placed beyond

the jurisdiction of the court; has been substantially diminished in value; or has bee n

commingled with other property which cannot be divided without difficulty; it is the

intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of said defendant up to the value of the

forfeitable property described above.




                                        A TRUE BILL




                                        FOREPERSON/

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                                        DATE


MICHAEL F . EASLEY, JR.
United States Attorney




Assistant United States Attorney




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